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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA
                                 Criminal No. 05-51 (3) (JNE/SRN)


UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
               v.                              )       ORDER
                                               )
DANE CORY STAGEBERG,                           )
                                               )
                       Defendant.              )




        Petitioner's Reply Brief, currently due on June 14, 2007, is now due on June 19,
2007.


Dated: June 13, 2007                           s/ Joan N. Ericksen
                                               Honorable Joan N. Ericksen
                                               United States District Judge
